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                                      April 25, 2025

Via ECF
Honorable Margo K. Brodie
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

               Re:     Massapequa U.F.S.D., et al., v. New York State Board of Regents, et al.
                       Docket No. 23-CV-07052 (MKB) (LGD)
Your Honor:

       We represent the plaintiffs-petitioners in the above-referenced matter. We write to request
a two-week extension, from April 28, 2025 to May 12, 2025, of the deadline for plaintiff Jeanine
Caramore to amend the complaint.

       We need this brief extension of time because our clients have been considering their
options, and as a result we need additional time to gather the information necessary to submit an
amended complaint on behalf of Ms. Caramore that addresses the issues outlined in the Court’s
March 27, 2025 decision.

       This is our first request for an extension of the deadline. Defendants do not consent to this
request. Thank you for your consideration of this matter.

                                                             Respectfully submitted,

                                                             SOKOLOFF STERN LLP



                                                             CHELSEA WEISBORD
cc:    All Counsel of Record (by ECF)




                          LONG ISLAND          ▪       HUDSON VALLEY
